                Case 1:09-bk-11235                           Doc 1          Filed 03/10/09 Entered 03/10/09 07:27:42                                                 Desc Main
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  B 1 Official Form 1 (1/08)
                                                                  United States Bankruptcy Court
                                                                     Southern District of Ohio                                                                                  Voluntary Petition

Name of Debtor (if individual, enter Last, First, Middle):                                              Name of Joint Debtor (Spouse) (Last, First, Middle):
     Milacron Inc.
All Other Names used by the Debtor in the last 8 years                                                  All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                             (include married, maiden, and trade names):
       See attached Exhibit B.
Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No. (if more than one, state all):         Last four digits of Soc. Sec./Complete EIN or other Tax I.D. No. (if more than one, state all):
       XX-XXXXXXX
Street Address of Debtor (No. & Street, City, and State):                                               Street Address of Joint Debtor (No. & Street, City, and State):

      4165 Half Acre Road                                                        ZIP CODE
      Batavia, OH                                                                45103                                                                                                      ZIP CODE

County of Residence or of the Principal Place of Business:                                              County of Residence or of the Principal Place of Business:
     Clermont
Mailing Address of Debtor (if different from street address):                                           Mailing Address of Joint Debtor (if different from street address):

      Same                                                                       ZIP CODE
                                                                                                                                                                                            ZIP CODE

Location of Principal Assets of Business Debtor (if different from street address above):
               Type of Debtor                                                    Nature of Business                                                Chapter of Bankruptcy Code Under Which
            (Form of Organization)                                                 (Check one box.)                                                   the Petition is Filed (Check one box)
               (Check one box.)                        Health Care Business
                                                       Single Asset Real Estate as defined in 11 U.S.C. § 101(51B)                         Chapter 7
                                                       Railroad                                                                            Chapter 9                          Chapter 15 Petition for
    Individual (includes Joint Debtors)
                                                       Stockbroker                                                                         Chapter 11                          Recognition of a Foreign
     See Exhibit D on page 2 of this form.             Commodity Broker
                                                                                                                                           Chapter 12                          Main Proceeding
    Corporation (includes LLC and LLP)                 Clearing Bank
                                                                                                                                           Chapter 13                         Chapter 15 Petition for
    Partnership                                        Other
                                                                                                                                                                               Recognition of a Foreign
    Other (If debtor is not one of the above                                                                                                                                   Nonmain Proceeding
     entities, check this box and state type of                                  Tax-Exempt Entity
     entity below.)                                                          (Check box, if applicable.)
                                                         Debtor is a tax-exempt organization under Title 26 of the United States                                 Nature of Debts
                                                          Code (the Internal Revenue Code).                                                                      (Check one box)
                                                                                                                                            Debts are primarily consumer         Debts are primarily
                                                                                                                                            debts defined in 11 U.S.C.           business debts.
                                                                                                                                            § 101(8) as "incurred by an
                                                                                                                                            individual primarily for a
                                                                                                                                            personal, family, or house-
                                                                                                                                            hold purpose."
                                    Filing Fee (Check one box.)                                                                                 Chapter 11 Debtors
    Full Filing Fee attached                                                                           Check one box:
                                                                                                            Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (Applicable to individuals only) Must attach signed               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     application for the court's consideration certifying that the debtor is unable to pay fee except  Check if:
     in installments. Rule 1006(b). See Official Form 3A.                                                   Debtor's aggregate noncontingent liquidated debts (excluding debts owed to nsiders or
                                                                                                       affiliates) are less than $2,190,000
                                                                                                       Check all applicable boxes:
    Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must attach signed
                                                                                                            A plan is being filed with this petition.
     application for the court's consideration. See Official Form 3B.
                                                                                                            Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                                                             accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                              THIS SPACE IS FOR COURT USE
    Debtor estimates that funds will be available for distribution to unsecured creditors.                                                                                        ONLY
    Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for distribution to
     unsecured creditors.
Estimated Number of Creditors
  1-            50-           100-         200-           1,000-           5001-         10,001-      25,001-50,000               50,001-              OVER
  49            99            199           999            5,000           10,000        25,000                                   100,000             100,000

Estimated Assets


$0 to       $50,001         $100,001        $500,001      $1,000,001      $10,000,001       $50,000,001      $100,000,001          $500,000,001      More
$50,000     to              to              to $1         to 10           to $50            to $100          to $500 Million       to $1 billion     than
            $100,000        $500,000        million       million         million           million                                                  $1 billion
Estimated Liabilities


$0 to       $50,001         $100,001        $500,001      $1,000,001      $10,000,001       $50,000,001      $100,000,001          $500,000,001      More
$50,000     to              to              to $1         to $10          to $50            to $100          to $500 Million       to $1 billion     than
            $100,000        $500,000        million       million         million           million                                                  $1 billion
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Voluntary Petition                                                                                    Name of Debtor(s):
(This page must be completed and filed in every case)                                                      Milacron Inc.
                                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location                                                                                       Case Number:                                                             Date Filed:
Where Filed:          - None -
Location                                                                                              Case Number:                                                      Date Filed:
Where Filed:
                          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
Name of Debtor: See attached Form 1015-2, Statement of Related or Companion          Case Number:                                                     Date Filed:
Cases                                                                                (Jointly Administered)
District:                                                                            Relationship:                                                    Judge:

                                             Exhibit A                                                                                           Exhibit B
                                                                                                                                 (To be completed if debtor is an individual
(To be completed if debtor is required to file periodic reports (e.g., forms 10K and 10Q) with                                   whose debts are primarily consumer debts.)
the Securities and Exchange Commission pursuant to Section 13 or 15(d) of the Securities              I, the attorney for the petitioner named in the foregoing petition, declare that I have informed
Exchange Act of 1934 and is requesting relief under chapter 11.)                                      the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of title 11, United
                                                                                                      States Code, and have explained the relief available under each such chapter. I further certify
                                                                                                      that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).
    Exhibit A is attached and made a part of this petition.                                            X
                                                                                                            Signature of Attorney for Debtor(s)                        Date

                                                                                           Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
    Yes, and Exhibit C is attached and made a part of this petition.
    No

                                                                                               Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
         Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                            Information Regarding the Debtor - Venue
                                                                                      (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately preceding the date of
                   this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no principal place
                   of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District, or the interests of the parties
                   will be served in regard to the relief sought in this District.
                                                           Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                  (Check all applicable boxes).

                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                             (Name of landlord that obtained judgment)

                                                                             (Address of Landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                   entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                   Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                   filing of the petition.



                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S. C. § 362(l)).
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Voluntary Petition                                                                                Name of Debtor(s):
(This page must be completed and filed in every case)                                                  Milacron Inc.
                                                                                            Signatures
                           Signature(s) of Debtor(s) (Individual/Joint)                                                      Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is true and
 correct.                                                                                         I declare under penalty of perjury that the information provided in this petition is true and
 [If petitioner is an individual whose debts are primarily consumer debts and has chosen to       correct, that I am the foreign representative of a debtor in a foreign proceeding, and that I am
 file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12 or 13 of title 11,   authorized to file this petition.
 United States Code, understand the relief available under each such chapter, and choose to       (Check only one box.)
 proceed under chapter 7.
                                                                                                  I request relief in accordance with chapter 15 of title 11, United States Code. Certified copies
 [If no attorney represents me and no bankruptcy petition preparer signs the petition] I have     of the documents required by 11 U.S.C. § 1515 are attached.
 obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of title 11
                                                                                                  specified in this petition. A certified copy of the order granting recognition of the foreign
 I request relief in accordance with the chapter of title 11, United States                       main proceeding is attached.
 Code, specified in this petition.
   X
       Signature of Debtor                                                                          X
   X                                                                                                    Signature of Foreign Representative
       Signature of Joint Debtor
                                                                                                        Printed Name of Foreign Representative
       Telephone Number (If not represented by attorney)
                                                                                                        Date
       Date
                                    Signature of Attorney*                                                         Signature of Non-Attorney Bankruptcy Petition Preparer
   X /s/ Kim Martin Lewis                                                                               I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer as
       Signature of Attorney for Debtor(s)                                                              defined in 11 U.S.C. § 110; 2) I prepared this document for compensation and have
       Kim Martin Lewis                                                                                 provided the debtor with a copy of this document and the notices and information
                                                                                                        required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, 3) if rules or guidelines
       Printed Name of Attorney for Debtor(s)
                                                                                                        have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for
       Dinsmore & Shohl LLP                                                                             services chargeable by bankruptcy petition preparers, I have given the debtor notice of
       Firm Name                                                                                        the maximum amount before preparing any document for filing for a debtor or
       255 East Fifth Street                                                                            accepting any fee from the debtor, as required in that section. Official form 19B is
       1900 Chemed Center                                                                               attached.
       Cincinnati, OH 45202-4720
       Address
       (513) 977-8200
       Telephone Number                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
                   , 2009
       Date                                                                                             Social Security number (If the bankruptcy petition preparer is not an individual, state
                                                                                                        the Social Security number of the officer, principal, responsible person or partner of the
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a                      bankruptcy petition preparer.)(Required by 11 U.S.C. § 110.)
     certification that the attorney has no knowledge after an inquiry that the
     information in the schedules is correct.
                      Signature of Debtor (Corporation/Partnership)
     I declare under penalty of perjury that the information provided in this petition is
     true and correct, and that I have been authorized to file this petition on behalf of
     the debtor.                                                                                        Address
     The debtor requests relief in accordance with the chapter of title 11, United                      _________________________________________________________________
     States Code, specified in this petition.
   X /s/ David E. Lawrence                                                                          X
       Signature of Authorized Individual

       David E. Lawrence                                                                                Date
       Printed Name of Authorized Individual                                                            Signature of Bankruptcy Petition Preparer or officer, principal, responsible
                                                                                                        person, or partner whose social security number is provided above.
                                                                                                        Names and Social Security numbers of all other individuals who prepared or
                                                                                                        assisted in preparing this document unless the bankruptcy petition preparer is not
       President and Chief Executive Officer                                                            an individual
       Title of Authorized Individual
                                                                                                        If more than one person prepared this document, attach additional sheets
                                                                                                        conforming to the appropriate official form for each person.
                    , 2009
       Date                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
                                                                                                        and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                        imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
